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        Attorneys for Plaintiff

                                UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                           Case No. 4:08-cr-00016-EJL
                 Plaintiff,
         vs.                                               NOTICE OF APPEARANCE

 HA (ERIC) MA,

                 Defendant.

        PLEASE TAKE NOTICE that WILLIAM M. HUMPHRIES, Assistant United States

Attorney for the District of Idaho, hereby appears in the above action as one of the attorneys

representing the United States of America and requests that he be added to the list receiving service of

papers and pleadings filed in this action.

        Respectfully submitted this 18th day of June, 2019.

                                                         BART M. DAVIS
                                                         UNITED STATES ATTORNEY
                                                         By

                                                         /s/ ________________________________
                                                         WILLIAM M. HUMPHRIES
                                                         Assistant United States Attorney



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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 18, 2019, the foregoing NOTICE OF

APPEARANCE was electronically filed with the Clerk of the Court using the CM/ECF system

which sent a Notice of Electronic Filing to the following person(s):

       Steven V. Richert
       Steve_richert@fd.org
       Defense Attorney

       Samuel R. Rubin
       Dick_rubin@fd.org
       Defense Attorney

       Amanda Chen
       Amanda.interpreter@gmail.com
       Interpreter for Defendant


       And, I hereby certify that the following listed non-registered CM/ECF participants were

served by U.S. Mail, postage prepaid:

       Ha (Eric) Ma
       Cordova, TN 38018
       Defendant


                                                     /s/ _________________________________
                                                     Chelsie Black
                                                     Financial Litigation Contractor




NOTICE OF APPEARANCE – 2
